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                         UNITED STATES DISTRICT COURT
                         DISTRICT COURT OF MINNESOTA

IN RE PORK ANTITRUST                          Case No. 18-cv-01776 (JRT-JFD)
LITIGATION
                                              Honorable John R. Tunheim

This Document Relates To:                     Magistrate Judge John F. Docherty

THE DIRECT PURCHASER
PLAINTIFF ACTION



          REPLY MEMORANDUM OF LAW IN SUPPORT OF
DIRECT PURCHASER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

                   [UNREDACTED VERSION FILED UNDER SEAL]




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                            INDEX OF DEFINED TERMS*
 Defined Term                    Meaning
 Class                           “All persons and entities who directly purchased one
                                 or more of the following types of pork, or products
                                 derived from the following types of pork, from
                                 Defendants, or their respective subsidiaries or
                                 affiliates, for use or delivery in the United States from
                                 June 29, 2014 through June 30, 2018: fresh or frozen
                                 loins, shoulders, ribs, bellies, bacon, or hams. For this
                                 lawsuit, pork excludes any product that is marketed as
                                 organic or as no antibiotics ever (NAE); any product
                                 that is fully cooked or breaded; any product other than
                                 bacon that is marinated, flavored, cured, or smoked;
                                 and ready-to-eat bacon. Excluded from this Class are
                                 the Defendants, the officers, directors or employees of
                                 any Defendant; any entity in which any Defendant has
                                 a controlling interest; and any affiliate, legal
                                 representative, heir or assign of any Defendant. Also
                                 excluded from this Class are any federal, state or local
                                 governmental entities, any judicial officer presiding
                                 over this action and the members of his/her immediate
                                 family and judicial staff, any juror assigned to this
                                 action, and any Co-Conspirator identified in this
                                 action.” See ECF No. 1320, Direct Purchaser
                                 Plaintiffs’ Motion for Class Certification, p. 31.
 Class Period                    June 29, 2014 through June 30, 2018, inclusive. See
                                 ECF No. 1320, Direct Purchaser Plaintiffs’ Motion for
                                 Class Certification, p. 31.
 Class Pork Products             The following types of Pork, or products derived from
                                 the following types of Pork, included in the Class
                                 definition: fresh or frozen loins, shoulders, ribs,
                                 bellies, bacon, or hams. For this lawsuit, Class Pork
                                 Products excludes any product that is marketed as
                                 organic or as no antibiotics ever (NAE); any product
                                 that is fully cooked or breaded; any product other than
                                 bacon that is marinated, flavored, cured, or smoked;
                                 and ready-to-eat bacon. See ECF No. 1320, Direct
                                 Purchaser Plaintiffs’ Motion for Class Certification,
                                 p. 31.
 Class Representatives           Plaintiffs Maplevale Farms, Inc.; John Gross and
                                 Company, Inc.; Ferraro Foods, Inc. and Ferraro Foods

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                                  of North Carolina, LLC; and Olean Wholesale
                                  Grocery Cooperative, Inc.
 Class Rep. Decls.                Collectively refers to the following declarations on
                                  behalf of each of the named Plaintiffs, filed as
                                  Exhibits to the Declaration of Bobby Pouya (ECF No.
                                  1322): (1) Maplevale Farms, Inc. (ECF No. 1322-4);
                                  (2) John Gross and Company, Inc. (ECF No. 1322-5);
                                  (3) Ferraro Foods, Inc. and Ferraro Foods of North
                                  Carolina, LLC (ECF No. 1322-6); and (4) Olean
                                  Wholesale Grocery Cooperative, Inc. (ECF No. 1322-
                                  7).
 Complaint or TCAC                Direct Purchaser Plaintiffs’ operative Third Amended
                                  and Consolidated Class Action Complaint (ECF No.
                                  431).
 Conspiracy Period                January 1, 2009 through June 30, 2018, inclusive. See
                                  ECF No. 1320, Direct Purchaser Plaintiffs’ Motion for
                                  Class Certification, p. 1 n.1.
 Defendants                       All defendants named in the Complaint, except
                                  Indiana Packers Corporation (see ECF No. 520,
                                  (granting Indiana Packers’ motion to dismiss). Unless
                                  otherwise noted, references to each Defendant in this
                                  Motion have the same meaning as set forth in the
                                  Complaint.
 [Name] Dep.                      Refers to the excerpt of the deposition transcript for
                                  the named individual on the indicated date, attached as
                                  an Exhibit to the Reply Declaration of Bobby Pouya.
 Direct Opposition                Defendants’ Memorandum In Opposition To Direct
                                  Purchaser Plaintiffs’ Motion For Class Certification,
                                  ECF No. 1445. Cited as “D.Opp.”
 DPPs or Plaintiffs               Direct Purchaser Plaintiffs.
 Haider Report                    Expert Report Of Dr. Laila Haider, ECF No. 1442-1.
 Rule                             Federal Rules of Civil Procedure.
 Integrator Defendants            All Defendants, except for Agri Stats.
 Joint Opposition                 Defendants’ Omnibus Memorandum In Opposition To
                                  All Class Plaintiffs’ Motions For Class Certification,
                                  ECF No. 1155. Cited as “J.Opp.”



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 Mangum Report                    ECF No. 1330, Report of Dr. Russell Mangum filed in
                                  support of Direct Purchaser Plaintiffs’ Motion for
                                  Class Certification.
 Mangum Reply Report              Report of Dr. Russell Mangum filed concurrently
                                  herewith.
 Mintert Report                   Expert Report Of James Mintert, Ph.D., ECF No.
                                  1442-2.
 Motion                           ECF No. 1318, Direct Purchaser Plaintiffs’ Motion for
                                  Class Certification. Citations to “Mot.” are to Direct
                                  Purchaser Plaintiffs’ Memorandum of Law, ECF No.
                                  1320, filed in support of the Motion.
 Oppositions                      Refers to both the Joint Opposition and Direct
                                  Opposition.
 Pork                             Porcine or swine products. “Pork” and “swine” are
                                  used interchangeably, particularly when referring to
                                  the pork or swine industry. Other related terms, such
                                  as hogs and sows, are intended to reference traditional
                                  industry meanings. See, e.g., Mangum Report ¶¶ 8, 38,
                                  39.
 Pouya Decl.                      ECF No. 1322, Declaration of Bobby Pouya filed in
                                  support of Direct Purchaser Plaintiffs’ Motion for
                                  Class Certification.
 Pouya Reply Decl.                Declaration of Bobby Pouya filed concurrently
                                  herewith. All references to “Ex.” refer to exhibits to
                                  the Pouya Reply Decl. unless otherwise noted.
 * All capitalized terms not defined in this Index have the same meaning as in the
 Complaint.




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I.         INTRODUCTION

           The proposed DPP Class meets the requirements for class certification. DPPs have

set forth evidence common to the Class, in the form of documents, data, witness testimony,

and expert evidence, that can be used to prove or disprove the three central elements of

their claim—that Defendants violated the Sherman Act; that members of the DPP Class

suffered antitrust injury; and the amount of resulting damages. Thus, common questions of

law and fact will predominate at trial.

           Defendants’ Oppositions to class certification rely on a skewed, fictional version of

the factual record. The core of Defendants’ arguments is that the alleged conspiracy did

not take place. Plaintiffs disagree, but regardless, these arguments based largely on

evidence common to the Class cannot defeat class certification. Class certification focuses

on the requirements of Rule 23, not “the merits of the parties’ claims and defenses.”

Elizabeth M. v. Montenez, 458 F.3d 779, 786 (8th Cir. 2006). Because the key merits

questions can all be resolved on a class-wide basis, they are appropriate for class-wide

adjudication. See In re Potash Antitrust Litig., 159 F.R.D. 682, 689 (D. Minn. 1995)

(recognizing inherent “common legal and factual questions about the existence, scope and

effect of the alleged conspiracy” in price-fixing cases). Therefore, Plaintiffs respectfully

request that the Court certify the Class.

II.        COMMON ISSUES OF LAW AND FACT PREDOMINATE OVER
           INDIVIDUAL ISSUES

           Predominance focuses on what the parties must prove, not whether they ultimately

will prove it. Predominance requires that “questions common to the class predominate, not



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that those questions will be answered, on the merits, in favor of the class.” Amgen Inc. v.

Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 466 (2013). “Though class certification is

not the time to address the merits of the parties’ claims and defenses, the ‘rigorous analysis’

under this preliminary inquiry ‘involve[s] the consideration of what the parties must

prove.’” Elizabeth M., 458 F.3d at 786. The court’s “primary task is not to determine the

final disposition of a plaintiff’s claims, but instead to examine whether those claims are

appropriate for class resolution.” Postawko v. Missouri Dep’t of Corr., 910 F.3d 1030,

1037 (8th Cir. 2018); see also Messner v. Northshore Univ. HealthSystem, 669 F.3d 802,

811 (7th Cir. 2012) (“in conducting this analysis, the court should not turn the class

certification proceedings into a dress rehearsal for the trial on the merits.”).

           In this case, common evidence will prove the existence and impact of the antitrust

conspiracy, and Defendants’ merits-based challenges have no bearing on class

certification. Defendants do not challenge the fact that the central element of DPPs’

claim—whether Defendants conspired—will be proven on a Class-wide basis. Their

silence regarding this element of Plaintiffs’ claim speaks volumes, particularly given the

arguments and evidence DPPs previously set forth. Mot. 41-52; see also Amchem Prods.,

Inc. v. Windsor, 521 U.S. 591, 625 (1997) (“Predominance is a test readily met in certain

cases alleging . . . violations of the antitrust laws.”).

           In opposing class certification, Defendants principally assert a premature merits

defense—that they did not conspire to raise Pork prices. Defendants’ merits-based

arguments actually support granting the Motion because whether Defendants conspired is

a question common to the Class. Defendants’ defense at trial will focus on the same facts


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regardless of whether the Class is certified. See Amgen, 568 U.S. at 470 (holding alleged

“failure of proof as to an element of the plaintiffs’ cause of action.” is question for summary

judgment or trial, not class certification).

           A.     Common Evidence Will Be Used to Show the Class-Wide Impact of
                  Defendants’ Conspiracy

           At class certification, Plaintiffs’ burden is not to prove antitrust impact, but only to

demonstrate that it “is capable of proof at trial through evidence that is common to the class

rather than individual to its members.” See Comcast Corp. v. Behrend, 569 U.S. 27, 30

(2013). Plaintiffs must show that “damages are capable of measurement on a classwide

basis,” but they “need not be exact.” Comcast, 569 U.S. at 34-35. “[P]roof of injury in a

price-fixing case will generally consist of some showing by the plaintiff that, as a result of

this conspiracy, he had to pay supracompetitive prices ....” Blades v. Monsanto Co., 400

F.3d 562, 569 (8th Cir. 2005) (quotation omitted).

           Dr. Mangum presented a workable and widely-accepted methodology to calculate

Class-wide damages and isolate the impact of the conspiracy based on standardized

statistical analyses utilizing Defendants’ transactional sales data. See Mangum Report §§

IV, V; Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC (“Tuna”), 31 F.4th

651, 676 (9th Cir. 2022) (en banc) (cert. denied, No. 22-131, U.S. Supreme Court 2022)

(“[T]he district court recognized that at this stage of the proceedings, its task was to

determine whether Dr. Mangum’s evidence was capable of showing class-wide impact, not

to reach a conclusion on the merits of the DPPs’ claims.”); see also In re Broiler Chicken

Antitrust Litig., No. 16 C 8637, 2022 WL 1720468, at *19 (N.D. Ill. May 27, 2022)



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(“Broiler Cert.”) (petition to appeal under Rule 23(f) denied, No. 22-8007, 7th Cir. 2022).

Dr. Mangum compared Defendants’ prices during the Conspiracy Period to Defendants’

prices during a benchmark period presumed to be unaffected by the alleged misconduct—

January 2005 through December 2008—to identify and measure the effect of Defendants’

conspiracy. Mangum Report ¶ 233. The model included specific variables to account for

costs, seasonal effects, the price of competing proteins, macroeconomic conditions,

product and consumer characteristics, and time-specific events. Ultimately, Dr. Mangum’s

model estimated statistically significant overcharge coefficients for each Pork product

category, thereby establishing impact to DPP Class members. Based on the calculated

overcharges and relevant commerce calculations, the members of the DPP Class were

overcharged for Class Pork Products by over $5 billion. See id. ¶¶ 236-245, 257-258.

           Defendants do not dispute the fact that the multiple regression models utilized by

Dr. Mangum are a valid and commonly used method of isolating the damages resulting

from a conspiracy. See id. ¶¶ 213-218 (citing authority); Ex. 2, Haider Dep. 129:23-132:3

(“In general, regression analysis is a well-accepted tool and technique, absolutely.”).

Although Defendants dispute the amount and existence of damages, as well as certain

explanatory variables used by Dr. Mangum, these arguments are not unique to any

particular Class member. Dr. Mangum’s model and opinions also can be used to establish

the existence of Class-wide impact.

           Defendants argue, citing Comcast, that Plaintiffs cannot show impact on a Class-

wide basis because their damages models are somehow inconsistent with their theory of

liability. J.Opp. 60. According to Defendants, even though Plaintiffs allege a conspiracy to


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fix prices, Comcast requires Plaintiffs to specifically calculate impact based on production

rather than prices. Defendants are wrong. It is axiomatic that “an increase in price resulting

from a dampening of competitive market forces is assuredly one type of [antitrust] injury”

resulting from a price-fixing conspiracy. Blue Shield of Va. v. McCready, 457 U.S. 465,

482 (1982) (emphasis added). As multiple courts have recognized, “constriction of supply

is the essence of ‘price fixing,’ whether it be accomplished by agreeing upon a price, which

will decrease the quantity demanded, or by agreeing upon an output, which will increase

the price offered.” FTC v. Superior Court Trial Lawyers Ass’n., 493 U.S. 411, 423 (1990);

Cal. Dental Ass’n v. FTC, 526 U.S. 756, 777 (1999); Westinghouse Elec. Corp. v. Gulf Oil

Corp., 588 F.2d 221, 226 (7th Cir. 1978) (conspiracy to fix prices and conspiracy to restrict

output are not distinct offenses); In re Sulfuric Acid Antitrust Litig., 743 F. Supp. 2d 827,

867 (N.D. Ill. 2010) (agreement to restrict production “equates to a price fixing

agreement”).

           Consistent with this authority, multiple courts have held it is appropriate to isolate

the impact of a conspiracy that includes alleged supply restraints based on a damages model

that focuses on the prices paid for the products at issue. See, e.g., Kleen Prod. LLC v. Int’l

Paper Co., 831 F.3d 919, 929 (7th Cir. 2016) (affirming class certification where the

plaintiffs’ expert modeled damages to “control for other influences on price and to isolate

the impact of the conspiracy” using a “dummy variable”); see also Manpower, Inc. v. Ins.

Co. of Pennsylvania, 732 F.3d 796, 808 (7th Cir. 2013) (“the Supreme Court and this

Circuit have confirmed on a number of occasions that the selection of the variables to

include in a regression analysis is normally a question that goes to the probative weight of


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the analysis rather than to its admissibility”) (citing Bazemore v. Friday, 478 U.S. 385, 400

(1986)); Broiler Cert., 2022 WL 1720468, at *19. Antitrust plaintiffs need not perform a

separate production regression to prove impact (as advocated by Defendants in this case),

because all that is needed is proof of “cartel pricing” on a class-wide basis. Kleen, 831 F.3d

at 927 (rejecting the argument that antitrust plaintiffs must perform a separate production

regression “of a hypothetical market free of any anticompetitive restraint”); see also

Broiler Cert., 2022 WL 1720468, at *19.

           Comcast imposes a requirement to match the unlawful conduct—to the exclusion

of other lawful conduct—with the damages. In other words, there must be a methodology

that identifies damages that are the “result of the wrong.” Comcast, 569 U.S. at 37. By

controlling for factors affecting supply and demand relating to the price of Pork (see above

and Mot. 52), Dr. Mangum has done exactly that. Neither Comcast nor the other cases cited

by Defendants support a different ruling.

           None of Defendants’ arguments or critiques of Dr. Mangum’s damages model, or

his analysis of antitrust impact, supports a denial of class certification.

                 1.    Defendants’ Arguments Regarding “Uninjured Class Members” Are
                       Legally and Economically Flawed

           Defendants argue that Dr. Mangum’s analyses cannot show that the number of

uninjured class members is beyond a “de minimis” threshold (see J.Opp. 48). This

argument has no legal or economic merit. Dr. Mangum actually found that less than 1% of

the DPPs in the regression data were uninjured, i.e., never paid a price during the Class

Period that was higher than the predicted but-for level. Mangum Report ¶ 256. Less than



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1% constitutes a de minimis amount under any standard. Defendants’ challenges to the

number of uninjured Class members therefore rely on their other attacks on Dr. Mangum’s

model, which are all without merit. Moreover, in arguing that Plaintiffs cannot meet the

burden of establishing predominance due to what they claim is a high number of uninjured

class members, Defendants seemingly adopt a per se rule that a class cannot be certified if

it includes more than a strictly defined percentage of uninjured class members. No circuit

has adopted this bright-line test, and a number of courts have rejected it.

           Most recently, in Tuna, the Ninth Circuit explicitly rejected arguments that Rule

23(b)(3) does not allow for certification of a class that includes more than a de minimis

number of uninjured class members. Id. at 669. Tuna specifically declined to establish a

numerical threshold for a portion of uninjured class members that would necessarily defeat

predominance. 31 F.4th at 669. The Ninth Circuit explained there is no such requirement

in Rule 23(b)(3), which requires only that courts determine, after rigorous analysis, whether

common questions predominate over any individual questions, including individualized

questions about injury or entitlement to damages. See id.

           Four other Circuits have addressed this issue, and each Circuit has held or signaled

that some undefined de minimis number of uninjured plaintiffs can exist in a class without

threatening certification. See In re Asacol Antitrust Litig., 907 F.3d 42, 58 (1st Cir. 2018);

Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 658-59 (4th Cir. 2019); Messner, 669

F.3d at 825; Cordoba v. DIRECTV, LLC, 942 F.3d 1259, 1277 (11th Cir. 2019). Therefore,

Defendants are incorrect in stating that courts routinely reject classes with more than 5%

to 8% of uninjured class members. J.Opp. 48-49 (emphasis added). Even Rail Freight, on


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which Defendants rely most heavily, concluded only that Rule 23(b)(3)’s predominance

requirement is not satisfied when the need to identify uninjured class members will

predominate and render an adjudication unmanageable. See In re Rail Freight Fuel

Surcharge Antitrust Litig.-MDL No. 1869, 934 F.3d 619 (D.C. Cir. 2019); see also Tuna,

31 F.4th at n.13 (discussing Rail Freight).

           The Eighth Circuit has not adopted a de minimis requirement regarding uninjured

class members, and there is no basis for inferring such a requirement from the current case

law. See In re Zurn Pex Plumbing Prods. Liab. Litig., 644 F.3d 604, 619 (8th Cir. 2011)

(citing Blades, 400 F.3d at 566-67). Even if such a standard applied, it would not serve as

a basis for denying certification in this case because Plaintiffs and their expert have

demonstrated that all or substantially all Class members have suffered an antitrust injury.

Mangum Report ¶¶ 17, 181-184; Mangum Reply Report ¶¶ 12, 96.

                 2.     Defendants’ Arguments Regarding “Economic Realities” Cannot
                        Support Denial of Class Certification

                        (a)   Defendants’ attempt to minimize their control over hog
                              production is neither credible nor persuasive.

           Dr. Mangum’s damages model is designed to isolate the impact of the alleged

conspiracy to fix the price of Pork that Defendants sold to Class members. Ignoring this

central point, Defendants claim the model is unreliable because it does not analyze “the

supply decisions of non-Defendant hog producers.” Defendants’ argument fails.

           As discussed above, courts have found it appropriate for a damages model in an

antitrust case (including cases involving supply restraints) to focus on prices paid for the

products at issue. Plaintiffs allege a conspiracy to fix the prices of Pork. Dr. Mangum’s


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analysis therefore focuses on the prices paid for Pork products and the market structure and

characteristics of the market for Pork products. Defendants’ claim that Dr. Mangum’s

analysis of damages and impact should have focused on production rather than prices is

legally and economically flawed. Mangum Reply Report ¶¶ 87-89. The argument is even

further afield when it is applied to hog production, which is not the product or market at

issue.

           Further, Defendants’ claim that they (multi-national, multi-billion dollar

corporations) are at the mercy of local farmers with respect to the production of hogs defies

logic. As Dr. Mangum has explained, Defendants exercise control over the production of

Pork in several ways. First, Defendants directly control the supply of hogs because they

themselves are some of the largest hog producers in the United States. As Defendants and

their expert concede, the six producer Defendants are directly responsible for growing at

least 30% of the hogs used for Pork production. See Mintert Report, Exhibit 5. These six

Defendants constitute some of the top hog producers in the United States. Conversely, the

vast majority (over 59,000) hog farmers in the United States are small farmers who together

make up approximately 9.3% of hog supply and have very limited influence on the market.

See Mintert Report, Exhibit 3. As Dr. Mangum points out, Defendants had the ability to

sufficiently reduce supply in order to increase prices based on the hogs they grow. Mangum

Reply Report ¶¶ 65, 72; see also Mintert Report, Exhibit 1 (showing industry supply

restraints never exceeded Defendants’ market share).

           In addition, Defendants control approximately 90% of Pork processing and can

influence the hog supply by limiting how much they buy and by controlling their Pork


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production capacity. Mangum Report ¶¶ 17, 80; Mangum Reply Report ¶¶ 10, 59. Since

Defendants control 90% of Pork processing and nearly all hogs are sold pursuant to

contract, virtually all hog farmers make their hog-growing decisions based on their need to

meet contractual obligations with Defendants; for Defendants to suggest otherwise simply

is not credible. Id. If the non-Defendant growers choose to increase supply without an

increase in Defendants’ slaughter (i.e., demand), that would decrease hog prices, resulting

in diminished and uneconomical returns. Mangum Report ¶¶ 113-14. In other words,

Defendants’ status as the dominant hog purchasers in the United States allowed them to

exert significant power over hog production, even if it is done by non-Defendant growers.

Mangum Reply Report ¶¶ 46-47; Ex. 3, Mintert Dep. 143:6-8. (“Q. Are you aware of any

other primary markets for hogs other than pork processing? A. No.”).

           As Dr. Mangum has pointed out, and Defendants’ expert concedes, the production

of Pork in the United States now occurs exclusively pursuant to contractual agreements

with the Defendants. See Mangum Report ¶¶ 56-57; Mintert Report, Exhibit 2. In other

words, these hogs are already spoken and accounted for, rather than the product of an

independent decision to produce a hog that would go to the spot market. Id.; see also

Mangum Reply Report ¶ 51. Furthermore, Defendants’ contracts impose significant

restrictions and requirements on growers that allow Defendants to exert additional control

over the hog production process. See Mangum Reply Report ¶¶ 47-49.

                        (b)   Defendants’ focus on hog producer returns is misplaced.

           Consistent with Defendants’ effort to recast Plaintiffs’ allegations as a “hog

conspiracy,” Defendants criticize Dr. Mangum’s model for not having a variable for hog


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producer returns and other factors impacting profitability in the hog market. At best, these

criticisms of the variables in Dr. Mangum’s model go to its weight and credibility; they do

not supply a basis to deny class certification. Manpower, 732 F.3d at 808. The argument is

also without merit. Plaintiffs allege, and will ultimately seek to prove, a conspiracy to fix

the price of Pork. Dr. Mangum’s damages model adequately accounts for the supply and

demand factors impacting the relevant Pork market, and there is no valid reason to include

a hog producer return variable in his model. Mangum Reply Report ¶¶ 141-146. Even if

such a variable were valid, incorporating it into Dr. Mangum’s model would not undermine

his demonstration of Class-wide damages or impact. See id. ¶ 146.

                         (c)    Defendants’ arguments regarding export demand do not
                                support denial of class certification.

           Defendants’ claims that Dr. Mangum has failed to adequately account for exports

fare no better. Exports are one means by which Defendants were able to restrict domestic

supply and inflate domestic prices. Mangum Reply Report ¶ 65-67. As discussed above,

the appropriate means of calculating the impact of an alleged price-fixing conspiracy, i.e.,

the degree to which Class members paid artificially inflated prices, is by analyzing the

prices paid. The domestic supply of Pork (of which exports is only one contributing factor)

is relevant to the allegations, but not a necessary intermediate step that needs to be

calculated in order to establish a price impact. Mangum Reply Report, Section II.B.

           Nor is it true that Dr. Mangum assumes that all exports during the class period were

conspiratorial. Rather, the export of Pork is one way Defendants reduced the domestic

supply of Pork in furtherance of their conspiracy. Defendants provide no meaningful



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rebuttal to this point, and the evidentiary record is replete with examples of Defendants

acknowledging the impact that their exports had on domestic supply and prices. See, e.g.,

Ex. 4, SMITHFIELD01144316 (early 2009 document indicates increase in exports to

Russia would affect ham prices “in the lower $40s” by “boost[ing] ham prices into the

lower $50s.”); Pouya Decl., Exhibit 20, TF-P-000518663 (email stating “export

shipments” are the “key” to “create the disappearance” necessary for domestic

profitability); Pouya Decl., Exhibit 67, TF-P-000021759 (Roel Andriessen stated goal to

“increase Loin, Cushion, and Picnic (through GSP) [export] sales and, subsequently,

increase overall domestic disappearance.”); Ex. 5, TF-P-000665127 (email discussing

willingness to incur substantial air freight costs to get Pork out of domestic market); Ex. 6,

SMITHFIELD00302315 (Dhamu Thamodaran email explaining domestic Pork market is

inelastic and quantifying anticipated price increases from increased exports to China);

Ex. 7, TF-P-000797249 (Sumio Matsumoto explaining advantage for Smithfield “to ship

more meat to China to support US hog price. So, SFD should try as many as possible export

to China even with loss of meat sales price by doing it.”). These exports, which increased

substantially during the Conspiracy Period, did not increase domestic supply of Pork. See

Mangum Report ¶ 83; Mangum Reply Report ¶ 89, Figure 6 (showing U.S. Pork production

adjusted for imports and exports).

           B.    Defendants’ Arguments Regarding Impermissible “Averaging” Are
                 Misleading and Legally Deficient

           Notwithstanding Defendants’ hyperbolic discussion of a single overcharge and

“averaging,” they do not meaningfully dispute that Dr. Mangum’s multiple regression



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analysis is a common and well-accepted method to calculate damages in antitrust cases.

Mangum Report ¶ 218 (citing authority); Mangum Reply Report ¶¶ 104-106; Ex. 2, Haider

Dep. 129:23-132:3. Nor could they, as “Plaintiffs frequently offer expert evidence,

including statistical evidence or class-wide averages, to prove that they meet the

prerequisites of Rule 23(b)(3).” Tuna, 31 F.4th at 665; In re Urethane Antitrust Litig., 768

F.3d 1245, 1260-61 (10th Cir. 2014); Kohen v. Pac. Inv. Mgmt. Co. LLC, 571 F.3d 672,

676 (7th Cir. 2009); In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 291, 313

(N.D. Cal. 2010).

           Dr. Mangum’s reliable results are not guesswork or unconventional, and when taken

as a whole provide a strong basis for proving damages. See Tuna, 31 F.4th at 676-77

(holding Dr. Mangum’s pooled regression model capable of demonstrating antitrust impact

on class-wide basis). This well-reasoned and evidence-based expert opinion, combined

with Plaintiffs’ substantial record evidence, provide relevant, probative evidence of the

common impact resulting from the alleged conspiracy. Id.; see also In re Pre-Filled

Propane Tank Antitrust Litig., No. 14-02567-MD-W-GAF, 2021 WL 5632089, at *6

(W.D. Mo. Nov. 9, 2021) (citing In re Processed Egg Prod. Antitrust Litig., 312 F.R.D.

124, 159 (E.D. Pa. 2015)).

           Defendants’ actual attacks on Dr. Mangum’s use of averaging are limited to the time

periods Dr. Mangum used, which do not support denial of class certification or exclusion

of his expert opinions. See Manpower, 732 F.3d at 808; see also Blades, 400 F.3d at 567

(“[e]xpert disputes ‘concerning the factual setting of the case’ should be resolved at the

class certification stage only to the extent ‘necessary to determine the nature of the evidence


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that would be sufficient, if the plaintiff’s general allegations were true, to make out a prima

facie case for the class.’”).

           Each of these arguments is without justification.

                  1.     Basing the Damages Model on the Conspiracy Period Is Appropriate

           Defendants criticize Dr. Mangum for basing his damages model on the Conspiracy

Period of 2009 to 2018, instead of limiting it to the 2014-2018 Class Period. This criticism

is economically and legally unsupported. The Conspiracy Period is based on DPPs’

allegation of a conspiracy to fix, raise, or stabilize the price of Pork products in the United

States that began at least as early as 2009 and continued until at least 2018. By contrast,

the Class Period reflects the Court’s ruling that the applicable statute of limitations limited

DPPs’ claims to those incurred within four years of bringing this action. Order on Motions

to Dismiss, In re Pork Antitrust Litig., 495 F. Supp. 3d 753, 775 (D. Minn. 2020). The

Court’s determination says nothing about when the conspiracy occurred or when its

economic effects were felt, which the continuing-violation doctrine confirms. Plaintiffs’

actual damages calculations are appropriately designed and limited to the Class Period, but

based on an analysis of the economic effects of Defendants’ alleged conduct as a whole

(the Conspiracy Period). Mangum Reply Report ¶ 132; Ex. 3, Mintert Dep. 99:21-101:20

(confirming the use of 2009 as economically appropriate because it aligns with the start of

the alleged conspiracy).

           Dr. Mangum’s multiple-regression model set forth six different overcharges during

the Class Period. Mangum Report, Figure 75; Mangum Reply Report ¶¶ n.5, 127, Section

IV. These results are well reasoned, and when taken as a whole provide a strong basis for


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proving damages. Defendants rely on yet another out-of-circuit district court holding, In re

Aluminum Warehousing Antitrust Litigation, 336 F.R.D. 5 (S.D.N.Y. 2020), in an attempt

to bolster their Comcast challenge and to contradict Dr. Mangum’s methodology. J.Opp.

9-40. Indeed, Defendants try to frame the “averaging” used by Dr. Mangum as a negative,

but in reality it is quite the opposite. Here, where Dr. Mangum has calculated six

overcharges (versus one in Defendants’ cited cases) the overcharge model becomes more

reliable. Mangum Reply Report ¶ 10. In Aluminum, the court found that the plaintiffs

attempted to use an inappropriate explanatory variable in the expert’s damages model. 336

F.R.D. at 56-57. The explanatory variable responsible for some of the price increases was

not alleged in the complaint, and the court denied a request to amend to incorporate the

explanatory variable during class certification briefing. See id. Here, there is nothing in the

model or its explanatory variables which was not alleged in the Complaint, nor any other

factors that make the model questionable or otherwise unreliable. Indeed, contrary to

Defendants’ claim, use of aggregate data is appropriate and widely accepted. See Propane,

2021 WL 5632089, at *6 (citing Processed Egg, 312 F.R.D. at 159); see also Tuna, 31

F.4th at 677 (citing Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 459–60 (2016)).

                 2.    The Benchmark Period Is Appropriate

           Contrary to Defendants’ assertions, Dr. Mangum’s Benchmark Period of January

2005 through December 2008 is supported both by evidence and well-accepted economic

principles. See Plaintiffs’ Memorandum of Law in Opposition to Defendants’ Motion to

Exclude the Expert Report and Testimony of Dr. Russell Mangum, filed concurrently




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herewith,1 p. 24. Dr. Mangum uses a “benchmark” model, “a standard practice in antitrust

analysis.” Mangum Report ¶ 229, n.497; Mangum Reply Report ¶¶ 147-154. Dr. Haider

agreed the use of a benchmark model is standard practice in antitrust litigation. Haider Dep.

144:5-145:15. There is “no authority for excluding an expert’s damages model” based on

a challenge to the methodology used to determine the benchmark period. In re Blood

Reagents Antitrust Litig., MDL No. 09–2081, 2015 WL 6123211, at *12 (E.D. Pa. Oct. 19,

2015). Rather, “criticisms ... of potential benchmark years go to the weight of [expert]

opinions and not their admissibility.” In re Urethane Antitrust Litig., MDL No. 1616, 2012

WL 6681783, at *6 (D. Kan. Dec. 21, 2012); Broiler Cert., 2022 WL 1720468, at *11

(criticisms “might be relevant to the evidentiary weight of Mangum’s testimony, but it is

not a reason to question the reliability of his method”). Defendants’ suggestion that there

was nothing “normal” about 2008 is not relevant either to the Benchmark Period analysis

or to determination of class certification. In econometric terms, 2008 is “normal” in this

case because it is the year immediately preceding Defendants’ conspiracy, or a “clean”

period when Plaintiffs do not allege anticompetitive conduct. Id., at *27. Thus, Defendants’

argument that 2008 was not a “normal” year rests on a flawed assumption of what “normal”

means for purposes of conducting a benchmark regression. Further, Dr. Mangum’s model

includes variables that directly control for industry- and economy-wide events that took

place during 2008.2 Mangum Reply Report ¶¶ 147-154.


1
    Plaintiffs incorporate by reference all arguments set forth therein.
2
 Dr. Haider’s concerns about the 2008 Circovirus are similarly unwarranted. Mangum
Reply Report ¶¶ 147-150.


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           Defendants’ arguments rely on the assumption that Dr. Mangum should have

“cherry-picked” the benchmark period and excluded 2008. J.Opp. 44-47. Courts have

repeatedly rejected attempts to do just that. In Reed Const. Data Inc. v. McGraw-Hill Cos.,

Inc., 49 F. Supp. 3d 385, 400 (S.D.N.Y. 2014), the court found that “[w]hen constructing

a benchmark statistic, the regression analyst may not ‘cherry-pick’ the time-frame or data

points so as to make her ultimate conclusion stronger.” Similarly, in In re LIBOR-Based

Fin. Instruments Antitrust Litig., 299 F. Supp. 3d 430, 484 (S.D.N.Y. 2018), the court

rejected the inclusion of the year 2013 in the expert’s clean period where the plaintiffs’

expert did not provide an affirmative justification for adding 2013 to the clean period and

how it did not skew results. Id. Additionally, the court found that inconsistences between

the plaintiffs’ experts indicated a lack of reliability. Id. Here, including 2008 in the “clean”

period makes economic sense as it is the year immediately preceding the Conspiracy Period

and Dr. Mangum’s explanatory variables capture the non-conspiratorial factors that Dr.

Haider identifies in 2008. As such it is Dr. Haider’s removal of 2008 form the model

without economic justification which constitutes cherry-picking. Moreover, courts have

accepted analyses based on benchmark periods that include the Great Recession. See, e.g.,

Broiler Cert., 2022 WL 1720468, at *9 (rejecting defendants’ expert’s opinion that “the

Great Recession” was one of “the real causes for the decrease in supply” and accepting Dr.

Mangum’s use of a regression analysis to identify the class period); see also In re Packaged

Seafood Prods. Antitrust Litig., 332 F.R.D. 308, 322 (S.D. Cal. 2019).

           Plaintiffs allege Defendants began conspiring in 2009, the sufficiency of those

allegations has been upheld (see Order on Motions to Dismiss, ECF No. 520), and Plaintiffs


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and their expert are entitled to rely on them in this motion. In any event, to the extent an

expert’s benchmark determination rests on “facts and assumptions as the basis for his

opinion,” the opposing party “can highlight those weaknesses through effective cross–

examination.” Stecyk v. Bell Helicopter Textron, Inc., 295 F.3d 408, 414 (3d Cir. 2002).

Here, Dr. Mangum’s benchmark period is consistent with Plaintiffs’ contentions after years

of gathering evidence in discovery.

III.       DEFENDANTS’ OTHER ARGUMENTS IN OPPOSITION TO CLASS
           CERTIFICATION ARE WITHOUT MERIT

           Other than the predominance challenges described above, Defendants challenge

only the typicality and adequacy of the Named Plaintiffs under Rule 23(a)(3)-(4). Both

challenges fail.

           A.     The Named Plaintiffs’ Claims Are Typical

           Typicality “is generally considered to be satisfied if the claims or defenses of the

representatives and the members of the class stem from a single event or are based on the

same legal or remedial theory. The burden is fairly easily met so long as other class

members have claims similar to the named plaintiff.” In re Zurn Pex Plumbing Prods.

Liab. Litig., 267 F.R.D. 549, 559 (D. Minn. 2010), aff’d, 644 F.3d 604 (8th Cir. 2011)

(cleaned up, emphasis added); see also Alpern v. UtiliCorp United, Inc., 84 F.3d 1525,

1540 (8th Cir. 1996); Paxton v. Union Nat’l Bank, 688 F.2d 552, 562 (8th Cir. 1982) (class

representatives must “have the same or similar grievances” as the class members

(emphasis added)).




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           In antitrust cases, typicality is satisfied where “plaintiffs and all class members

alleg[e] the same antitrust violations by defendants.” In re Rubber Chems. Antitrust Litig.,

232 F.R.D. 346, 351 (N.D. Cal. 2005) (quotation marks omitted); see also In re Urethane

Antitrust Litig., 251 F.R.D. 629, 640 (D. Kan. 2008). Where “it is alleged that the

defendants engaged in a common scheme relative to all members of the class, there is a

strong assumption that the claims of the representative parties will be typical[.]” In re

Linerboard Antitrust Litig, 305 F.3d 145, 207 (3d Cir. 2002) (quoting In re Catfish

Antitrust Litig., 826 F. Supp. 1019, 1035 (N.D. Miss. 1993)) (emphasis added); see also In

re Workers’ Compensation, 130 F.R.D. 99, 106 (D. Minn. 1990) (“An antitrust price fixing

case generally will involve claims sufficiently similar to satisfy Rule 23(a)(3).”).

           The significant evidentiary record supporting DPPs’ Motion makes clear that the

Named Plaintiffs are direct purchasers of Pork products who allege they were injured by

Defendants’ price fixing and seek the same remedy. This evidence includes details

establishing Defendants’ Class-wide conduct, expert evidence establishing the other Class

members who were affected by Defendants’ scheme, and declarations submitted by each

of the four Named Plaintiffs setting forth (1) their qualifications, (2) the fact that, like all

Class Members, they purchased Pork during the Class Period, (3) their understanding of

their duties as a class representative, and (4) the significant time and resources they have

invested in this litigation thus far. See Class Rep. Decls.

           Defendants’ generalized argument that Plaintiffs have not met their burden to

establish typicality is without merit, and the cases they rely upon are distinguishable. Belles

v. Schweiker, 720 F.2d 509 (8th Cir. 1983), found typicality lacking because the plaintiff


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failed to “identify any other person who has been subjected to the same or similar treatment

as she has.” Id. at 515. In re Baycol Products Litigation found that the class representatives’

personal injury claims lacked typicality due to individual issues related to their injuries,

causation, and defenses. 218 F.R.D. 197, 205 (D. Minn. 2003). Here, no such

individualized issues exist; all DPPs paid inflated prices for Pork as a result of Defendants’

antitrust violations. Defendants’ specific challenges to typicality of the Named Plaintiffs

based on size and negotiating power, geography, and contracting methods fare no better.

                 1.    Plaintiffs Are Not Required to Have a Representative for Different
                       Sized Class Members

           Defendants argue that the relative size and negotiating power of the Named

Plaintiffs disqualify them from serving as representatives of the proposed Class. D.Opp.

13-15. The negotiating power of class representatives does not defeat typicality. Courts

regularly find class certification warranted notwithstanding individually negotiated prices

where negotiation took place from an inflated, supra-competitive starting point. See, e.g.,

Potash, 159 F.R.D. at 696; see also Catfish, 826 F. Supp. at 1019 (finding typicality

satisfied despite purchasers’ varying sizes, geographical locations, and buying methods).

Here, regardless of the size of the purchasers, their negotiating power, or the specific

method they used to purchase Pork, all Class members paid more for Pork than they would

have but for the existence of the conspiracy. Dr. Mangum’s reports and the other record

evidence establish the commodity nature of the Pork business and the industry-wide supply

and demand conditions. Mangum Report ¶¶ 119-129; Mangum Reply Report ¶¶ 26, 27.

These do not only apply to the Named Plaintiffs, but to all purchasers of Pork, including



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large conglomerates, small purchasers, and participants in industry buying groups such as

UniPro. Mangum Reply Report ¶ 126.

           To support their assertion that courts “regularly” hold that differences in negotiating

power defeats typicality, Defendants cite only two out-of-circuit district court decisions.

Those cases were not decided based on “negotiating skill and bargaining power,” but on

distinct differences between segments of the class. In In re Graphics Processing Units

Antitrust Litigation, 253 F.R.D. 478, 489 (N.D. Cal. 2008), the named plaintiffs purchased

a single retail graphics card from Defendants’ website, which was atypical of the vast

majority of class members who purchased cards to incorporate into electronic products.

Similarly, the named plaintiffs in In re Intel Corp. Microprocessor Antitrust Litigation,

No. CV 05-485-LPS, 2014 WL 6601941, at *11 (D. Del. Aug. 6, 2014), were consumers

and small businesses who purchased computers containing price-fixed microprocessors

without the ability to negotiate.

           Here, the Named Plaintiffs purchased Pork products directly from Defendants for

the purpose of resale. See Class Rep. Decls. Their line of business, experience, and claims

are sufficiently co-extensive of the Class members they seek to represent in this case. See,

e.g., Broilers Cert., 2022 WL 1720468, at *3. As Dr. Mangum noted, the characteristics of

the Pork market are such that Defendants’ conspiracy would have affected prices paid by

all or nearly all DPP Class members. Mangum Reply Report ¶ 12. Their pricing decisions

and purchases were subject to the same supply and demand conditions as the other Class

members. Id., Section III. Large or small, they all paid supracompetitive prices for Pork as

a result of Defendants’ conduct. Id.


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                  2.     Geographical Differences in Class Representatives Are Not Relevant
                         to Typicality

           Defendants’ claimed “regional differences in market forces” are not relevant to class

certification. D.Opp. 19. Defendants argue that (1) the Named Plaintiffs do not conduct

business nationwide and are limited to disparate geographic regions; and (2) while the

demand for Pork is global, the market for Pork products is subject to regional demand and

varying market forces.

           Contrary to Defendants’ assertions, differences in the geographic scope of the

members of the proposed DPP Class are irrelevant to typicality. As discussed above,

Plaintiffs allege a nationwide conspiracy, and the Named Plaintiffs, along with all other

Class members, purchased Pork during the Class Period at supracompetitive prices.

Geography’s only relevance would be based on Defendants’ sales of the price-fixed

products, but Defendants and their experts have not presented any evidence to dispute the

fact that Defendants sell Pork nationwide, including to the Named Plaintiffs. The hundreds

of pages of reports submitted by Defendants’ experts, Drs. Haider and Mintert, contain no

support for the claim that Defendants’ prices vary based on geography. Indeed, Dr. Mintert

emphasized that there are not geographic limitations on the production of hogs and Pork in

his report. Mintert Report ¶ 67. By contrast, Dr. Mangum’s correlation analyses show that

prices for different customers in different regions move together (i.e., are correlated), and

pricing patterns demonstrate that different customers are similarly affected by supply and

demand factors that affect Defendants’ Pork prices nationwide. Mangum Reply Report ¶¶

99-101. Unable to support their arguments with economics, Defendants rely instead on out-



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of-context deposition quotes which mostly refer to regional differences in freight costs

which can be easily controlled for (D.Opp. 18).

           The cases Defendants rely upon do not support their argument. In In re Milk

Products Antitrust Litigation, the named plaintiff, a small grocery store, testified that it

sought to represent only smaller stores, and not larger ones, and faced the prospect of

litigating with other class members. 195 F.3d 430, 437 (8th Cir. 1999). The court held that

“[a] named plaintiff who lacks the desire to ‘vigorously pursue’ the interests of potential

class members is not a fair and adequate representative of the class.” Id. (quotation

omitted). The court further found that the plaintiff lacked standing and therefore faced

unique defenses. Id. No such issues are present here, where each Plaintiff has evinced a

strong desire to pursue the claims and faces no unique defenses. See Class Rep. Decls.

           Defendants incorrectly cite Food Lion for the proposition that the court failed to

find typicality due to competitive conditions faced in various geographic markets. See

D.Opp. 19 (citing Food Lion, LLC v. Dean Foods Co., 321 F.R.D. 472, 483-84 (D.P.R.

2017)). In fact, the court held the class representatives lacked typicality for the same

reasons as predominance: because the class representative had formula-pricing transactions

directly with the defendants and there was insufficient evidence in the record to explain

how the plaintiffs were injured. See Food Lion, 321 F.R.D. at 496. Defendants have not

shown that Plaintiffs are subject to unique pricing or market forces based on geography.

                 3.     DPPs’ Contracting Methods Do Not Defeat Typicality

           Contrary to Defendants’ assertions, DPPs’ allegedly differing purchasing

mechanisms do not preclude typicality. Rule 23(a)(3) does not require that all members of


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a proposed class pay the same amount or use similar purchase methods. Potash, 159 F.R.D.

at 682; see also Catfish, 826 F. Supp. 1019 (class of catfish purchasers satisfied typicality

despite purchasers’ varying sizes, geographical locations, and buying methods because

substance of price-fixing claim was the same for all class members); In re Domestic Air

Transp. Antitrust Litig., 137 F.R.D. 677, 699 (N.D. Ga. 1991) (same); In re Wirebound

Boxes Antitrust Litig., 128 F.R.D. 268, 270, 272 (D. Minn. 1989) (same); see also 1 Herbert

B. Newberg & Alba Conte, Newberg on Class Actions, § 3.13 at 3-79 & n.208 (3d ed.

1992) (explaining that “differences in the methods of purchase or kinds of products

purchased among class members have been held not to bar a finding of typical claims” in

price-fixing actions).

           Although Defendants argue that Plaintiffs purchased products using a variety of

methods, they fail to establish how such differences would defeat typicality. As Dr.

Mangum has demonstrated, all the contractual mechanisms utilized in this case were

subject to the same forces of supply and demand that determine the price for Pork. Mangum

Reply Report ¶¶ 99-101. Conversely, Defendants’ experts failed to identify any differences

in Class members’ prices that they attribute to any particular contracting methodology. Id.

at n.166. Plaintiffs’ injury and damages are predicated on the market prices determined

from these supply and demand factors, rather than any specific method of contracting for

Pork.

           Defendants’ cited cases are inapposite. As set forth above, Intel and GPU involved

unique and distinguishable situations where the named plaintiffs were essentially

consumers subject to pricing methodologies that were completely distinguishable from


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substantial portions of the class. In In re Automotive Parts Antitrust Litigation, No. 12-

00501, 2019 WL 626143, at *11 (E.D. Mich. Jan. 7, 2019), the direct purchaser plaintiffs

alleged multiple means to carry out the price-fixing conspiracy, including but not limited

to a coordinated price increase and bid rigging. However, the named plaintiffs there were

only impacted by the price coordination, and not the bid rigging. Id. Here, there is one

alleged conspiracy—to fix, raise, and stabilize the price of Pork sold in the United States—

that applied to all Pork products including those purchased by the Named Plaintiffs.3 See

Mangum Reply Report, Section III.

           In Allied Orthopedic Appliances, Inc. v. Tyco Healthcare Group L.P., 247 F.R.D.

156, 178 (C.D. Cal. 2007), the court was concerned that not one distributor was a named

plaintiff when distributors accounted for half of all sales. Id. Also, some of the named

plaintiffs purchased the recycled version of the product and saved a substantial amount of

money compared to other class members. Id. Here, the Named Plaintiffs are typical direct

purchasers who purchased the Class Pork Products at issue for resale. Immaterial

differences in their specific contracting methodology do not change their claims, theory of

the case, or otherwise render them atypical of the Class members.

                                             ***

           The Named Plaintiffs’ claims are typical and aligned with the proposed Class, and

they will continue to diligently advance the Class’s interests.


3
 Defendants also cite In re Optical Disk Drive Antitrust Litigation to support their position
(D.Opp. 16 (citing 303 F.R.D. 311, 317 (N.D. Cal. 2014)), but that argument fails for the
same reason: there are no bid-rigging claims in this case and there is only one alleged
conspiracy that will be adjudicated using common evidence.


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           B.    The Named Plaintiffs Are Adequate

                 1.     Named Plaintiff John Gross has No Intra-Class Conflicts

           Defendants’ argument that John Gross is an inadequate representative of the

proposed Class because it uses a percentage margin to determine its downstream pricing is

irrelevant. Rule 23(a)(4) requires that the named plaintiffs “will fairly and adequately

protect the interests of the class.” Fed. R. Civ. P. 23(a)(4); see also Amchem, 521 U.S. at

625. “The adequacy inquiry under Rule 23(a)(4) serves to uncover conflicts of interest

between named parties and the class they seek to represent.” Amchem, 521 U.S. at 625

(citing General Telephone Co. of Southwest v. Falcon, 457 U.S. 147, 157-158 (1982)).

First, no such conflicts exist, and Plaintiff John Gross has (and will continue to) represent

the Class with integrity and persistence. See Class Rep. Decls. Second, antitrust injury is

complete when the direct purchaser pays an illegal overcharge, regardless of any pass-on

to its customers. See Hanover Shoe, Inc. v. United Shoe Mach. Corp., 392 U.S. 481, 489

(1968); Illinois Brick Co. v. Illinois, 431 U.S. 724-725 (1977). The only legally relevant

inquiry is whether John Gross paid more for Pork products than it would have absent

Defendants’ anticompetitive conduct.

           Because Plaintiff John Gross paid more for Pork as a result of the alleged

conspiracy, its interests are aligned with all other Class members.

                 2.     Named Plaintiff Olean Is an Adequate Class Representative

           The Court should reject Defendants’ attempt to turn a claimed discovery dispute

into an adequacy issue under Rule 23. “[A] class representative must be part of the class

and ‘possess the same interest and suffer the same injury’ as the class members.” Amchem,


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521 U.S. at 625-626 (citing East Tex. Motor Freight System, Inc. v. Rodriguez, 431 U.S.

395, 403 (1977)). Plaintiff Olean meets this standard.

           Defendants complain that Plaintiff Olean did not produce structured sales data, even

though this discovery-based argument has zero impact on class certification and creates no

intra-Class issues. Olean does not possess, have custody over, or control the structured data

from the years it was in business, and thus was not obligated to produce it. Fed. R. Civ. P.

34; Ex. 8, Second Amended Rule 26(a)(1) Disclosures. Defendants also complain that

Olean’s Rule 30(b)(6) designee was not sufficiently knowledgeable. That position ignores

both the substantial testimony Olean did provide and the limitations on the information

available to Olean. Ex. 1, Sept. 19, 2022 Letter from J. Bourne to S. Zimmerman.

           Olean’s downstream sales data is not relevant to class certification. Broilers, No. 16

C 8637, 2018 WL 3398141, at *1 (N.D. Ill. July 12, 2018) (striking defendants’ subpoenas

to DPPs seeking downstream sales information); In re Turkey Antitrust Litig., No. 1:19-cv-

08318, 2021 WL 6428398 (N.D. Ill. Dec. 16, 2021) (downstream discovery not relevant to

class certification). Defendants have conspicuously not brought a motion to compel against

Olean, and the deadline to do so has passed.

           These circumstances are a far cry from those in Defendants’ cited cases. See In re

Terazosin Hydrochloride Antitrust Litig., 223 F.R.D. 666, 674 (S.D. Fla. 2004) (discussing

refusal to comply with subpoenas seeking “agreed downstream discovery” that had been

approved by the court); Fidel v. Farley, No. 1:00-CV-48-M, 2004 WL 7340526, at *6

(W.D. Ky. Jan. 15, 2004) (addressing refusal to comply with a court order granting a

motion to compel). Olean met its discovery obligations, and its alleged failure to do so does


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not create an adequacy issue. See Bolanos v. Norwegian Cruise Lines Ltd., 212 F.R.D. 144,

156 (S.D.N.Y. 2002) (finding adequacy despite noting dissatisfaction with certain

“discovery disputes or issues”); see also Taqueria El Primo LLC v. Illinois Farmers Ins.

Co., 577 F. Supp. 3d 970, 993 (D. Minn. 2021) (Tunheim, J.) (explaining adequacy inquiry

focuses on whether there are “[c]onflicts between the representatives and the class”).

IV.        DEFENDANTS’ CHARACTERIZATION OF AND ATTEMPT TO
           DISTINGUISH BROILERS IS INCORRECT AND OF NO CONSEQUENCE

           Fearing a class certification decision similar to Broilers, Defendants argue that

differences between the pork and chicken industries somehow compel denial of class

certification in this case. J.Opp. 7-8. This argument misses the mark. First, the record in

this case supports certification in its own right. Second, the Broilers certification decision

counsels in favor of a similar decision here because there are substantial similarities

between the broiler and pork conspiracies, including overlapping Defendants, industry

characteristics, and a similar price-fixing scheme.

           In certifying classes similar to those proposed here, the Broilers court explained that

production of broiler chicken consistently increased before 2008, then “decreased

significantly” between 2008 and 2019, and then returned to the prior rate. Broiler Cert.,

2022 WL 1720468, at *6. The court explained that factors such as consistent demand for

broiler chickens, as well as evidence of collusion in the form of communication about

public and private production plans and sharing of confidential production information

served as class-wide evidence of the alleged conspiracy. Id.




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           The Broilers court rejected the same type of merits-based arguments that

Defendants make here, refusing to credit the defendants’ argument that the decrease in

supply was “imagined” or contrary to “reality,” simply because the defendants argued that

the decrease in supply was a product of natural economic factors rather than conspiracy.

Broilers Cert., 2022 WL 1720468 at *9. Here, Defendants also go to great lengths to

identify some other cause for the supply decrease that does not implicate them (e.g., high

corn costs, hog market supply, the global financial crisis, and the H1N1 outbreak). J.Opp.

20-22.

           This Court should apply the same thoughtful reasoning as the Broilers court and

reject Defendants’ arguments.

V.         CONCLUSION

           For these reasons, as well as those previously set forth in Plaintiffs’ Motion for Class

Certification, Plaintiffs respectfully submit that the proposed Class meets all requirements

under Rule 23 and that the Court should certify the proposed Class, appoint the Named

Plaintiffs as Class Representatives, and appoint Lockridge Grindal Nauen P.L.L.P. and

Pearson, Simon & Warshaw, LLP as Co-Lead Class Counsel.




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 Date: November 18, 2022

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